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IN THE UNITED STATES DlSTRlCT COURT
FOR THE DlSTRICT OF ALASKA
KATHERINE MARTIN,
Plaintiff,
vs.

GOVERNMENT EMPLOYEES
INSURANCE COMPANY,

)
)
)
)
)
)
)
)
)
Defendant. )
)

Case No. 3:12-cv- -

 

 

 

NOTICE OF REMOVAL

Defendant/removing party Government Employees Insurance
Company (“GEICO”), through its attorneys, the Law Office of
Hozubin & Moberly, P.C., and pursuant to 28 U.S.C. §§ 1332,

1441, and 1446-48, hereby files its Notice of Removal of the
above-entitled action.

l. On February 9, 2012, plaintiff commenced. the above-
entitled action against defendant in the Superior Court for the
State of Alaska, Third Judicial District, Case Number 3PA-12-
00814 Civil. GEICO was notified of service by plaintiff via

certified mail on February 29, 2012.

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2. Copies of process, pleadings, and Orders in the
Superior Court will be filed herewith pursuant to 28 U.S.C.
§1446(a).

3. Pursuant to 28 U.S.C. §1332(a)(1), Federal District
Courts “have original jurisdiction of all civil actions where
the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs, and is between citizens of
different states.”

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4. For the purposes of determining diversity, a
corporation shall be deemed to be a citizen of any State by
which it has been incorporated and of the State where it has its

principal place of business." 28 U.S.C. §1332(c)(1); see also,

Fifty Assoc. v. Prudential lns. Co. of Am., 446 F.2d 1187, 1190

 

 

 

(9th Cir. 1970). Individuals are deemed to be citizens of the
state of their domicile. Law v. Moss, 797 F.2d 747, 749 (9th
Cir. 1986).

5. Plaintiff is a resident of the State of Alaska and is,
therefore, deemed to be a citizen of Alaska. Defendant GEICO is
a corporation organized and existing under the laws of the State
of Maryland, with its principal place of business in the State
of Maryland, and is therefore deemed to be a citizen of

Maryland. 28 U.S.C. §1332(c)(1); Fifty Assoc. v. Prudential Ins.

 

Co. of Am., 446 F.2d 1187, 1190 (9th Cir. 1970). The amount in

controversy in the above-entitled action, exclusive of costs and

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interest, exceeds $75,000. The Complaint is filed in Alaska
Superior Court, wherein, pursuant to A.S. 22.10.020 and A.S.
22.15.030, the Superior Court has jurisdiction in matters that
exceed $100,000. Further, plaintiff is seeking damages in
excess of the $75,000 amount in controversy.

WHEREFORE, defendant/removing party GEICO respectfully
requests that this action be removed from the Superior Court for
the State of Alaska to the United States District Court for the
District of Alaska.

DATED this 14th day cf March 2012,

LAW OFFICE OF HOZUBIN & MOBERLY
Attorneys for GEICO

By: s/Rebecca J. Hozubin
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CERTIFICATE OF SERVICE

I hereby certify that on the
14th day of March 2012, a true
and correct copy of the foregoing
was mailed to and electronically
served on the following:

 

Curtis W. Martin, Esq.

Law Office of Curtis W. Martin
263 S. Alaska Street

Palmer, AK 99645

LAW OFFICE OF HOZUBIN & MOBERLY

By: s/Rebecca J. Hozubin
2000/398/plead/Notice of Removal- USDC

 

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